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                 UNITED STATES BANKRUPTCY COURT
                   EASTERN DISTRICT OF MISSOURI
                         EASTERN DIVISION
IN RE:                           ) Case No: 18-42077-399
                                 )
VERONICA R DESHAY                ) Chapter 13
                                 )
                                 )
               Debtor            )
                                 )

                 TRUSTEE'S WITHDRAWAL OF MOTION TO DISMISS

  COMES NOW Diana S. Daugherty, Standing Chapter 13 Trustee, and hereby
WITHDRAWS her Motion To Dismiss dated November 05, 2020.
Dated: January 04, 2021                              /s/ Diana S. Daugherty
WDMTDP--MF
                                                     Diana S. Daugherty
                                                     Standing Chapter 13 Trustee
                                                     P.O. Box 430908
                                                     St. Louis, MO 63143
                                                     (314) 781-8100 Fax: (314) 781-8881
                                                     trust33@ch13stl.com


                                   CERTIFICATE OF SERVICE
    I certify that a true and correct copy of the foregoing document was filed electronically on
January 04, 2021, with the United States Bankruptcy Court, and has been served on the parties in
interest via e-mail by the Court's CM/ECF System as listed on the Court's Electronic Mail Notice
List.

     I certify that a true and correct copy of the foregoing document was filed electronically with
the United States Bankruptcy Court, and has been served by Regular United States Mail Service,
first class, postage fully pre-paid, addressed to those parties listed on the Court's Manual Notice
List and listed below on January 04, 2021.

VERONICA R DESHAY
715 HAZEL VALLEY DRIVE
HAZELWOOD, MO 63042

                                                     /s/ Diana S. Daugherty
                                                     Diana S. Daugherty
